       Case 1:21-mj-00279-RMM         Document 20       Filed 08/14/21      Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                   :
                                           :
       v.                                  :       Criminal No. 1:21-mj-00279-RMM
                                           :
JACOB TRAVIS CLARK,                        :
                                           :
                         Defendant.        :


                                          ORDER

       Upon consideration of the Defendant’s Unopposed Motion to Modify Conditions of

Release, it is hereby:

       ORDERED that the Motion is hereby GRANTED; it is further

ORDERED that Mr. Clark’s supervision be transferred from the District of Colorado to the the

District of Wyoming immediately after he moves to Wyoming; and it is further

       ORDERED that all other conditions of release remain the same.




                                                                  G. Michael
August 14, 2021
                                                                  Harvey
                                               ___________________________________
                                               G. MICHAEL HARVEY
                                               United States Magistrate Judge
                                               United States District Court for the
                                               District of Columbia




                                               3
